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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


                                  CASE NO. 16-20715-CR-COOKE


   UNITED STATES OF AMERICA,

                  Plaintiff,

   vs.

   CRAIG SIZER,

               Defendant.
   __________________________________/

                  PRELIMINARY ORDER OF FORFEITURE, INCLUDING A
                          FORFEITURE MONEY JUDGMENT

          THIS CAUSE is before the Court upon motion of the United States of America (hereafter

   “United States” or “Government”) for entry of a preliminary order of forfeiture, including a

   forfeiture money judgment and the forfeiture of substitute assets, against Craig Sizer (hereafter

   “Sizer” or “defendant”), pursuant to Title 18, United States Code, Section 982(a)(8) and Rule

   32.2(b)(2), Federal Rules of Criminal Procedure. Being fully advised in the premises the Court

   finds as follows:

          1.      On September 22, 2016, a federal grand jury returned an indictment (“Indictment@)

   charging Sizer, and others, with conspiracy to commit wire fraud and mail fraud, in violation of

   Title 18, United States Code, Section 1349 (Count 1), among other charges. [ECF No. 3].

          2.      The Indictment included forfeiture allegations. The forfeiture allegations provided

   for the forfeiture of any property, real or personal, used or intended to be used to commit, to

   facilitate, or to promote the commission of such offense; and, constituting, derived from, or

   traceable to the gross proceeds that the defendant obtained directly or indirectly as a result of the

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   offense, pursuant to Title 18, United States Code, Section 982(a)(8). Moreover, it provided for the

   entry of a forfeiture money judgment in the gross amount of the fraud proceeds obtained as a result

   of the alleged conspiracy. Id.

          3.      On or about February 23, 2017, Sizer pled guilty to conspiracy to commit wire fraud

   and mail fraud, in violation of Title 18, United States Code, Section 1349 (Count 1). The defendant

   also agreed to the forfeiture of 555 N.E. 57 Street, Miami, Fl. (hereafter the ”Property”); and, to

   entry of a forfeiture money judgment of $22,456,186.00, which sum represents the gross proceeds

   obtained as a result of the conspiracy alleged in Count 1, pursuant to Title 18, United States Code,

   Section 982(a)(8). See Plea Agreement. [ECF No. 170].

          4.      The United States filed a Motion for a Preliminary Order of Forfeiture, Including a

   Forfeiture Money Judgment (hereafter “Motion for Order of Forfeiture”) in which it requests the

   entry of a preliminary order of forfeiture, including a forfeiture money judgment.

          5.      The entry of a preliminary order of forfeiture setting forth the amount of a money

   judgment and directing the forfeiture of specific property is specifically authorized by Rule 32.2(b)

   of the Federal Rules of Criminal Procedure.

          Therefore, upon motion of the United States, and for good cause shown, it is hereby

   ORDERED as follows:

          1.      The United States’ Motion for Entry of a Preliminary Order of Forfeiture, Including

   a Forfeiture Money Judgment is GRANTED;

          2.      A money judgment in the amount of $22,456,186.00 is hereby entered against Craig

   Sizer, pursuant to Title 18, United States Code, Section 982(a)(8) and Rule 32.2, Federal Rules of

   Criminal Procedure;




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          3.       All right, title and interest of Craig Sizer in the following property is forfeited to

   the United States pursuant to Title 18, United States Code, Section 982(a)(8):

                          a.      555 N.E. 57 Street, Miami, FL;

          4.       The Federal Bureau of Investigation or any duly authorized law enforcement

   agency shall seize and take custody of the Property pursuant to Title 21, United States Code,

   Section 853(g);

          5.       The United States shall publish notice of this Preliminary Order of Forfeiture in

   accordance with Rule 32.2(b)(6) of the Federal Rules of Criminal Procedure;

          6.       The United States shall provide, to the extent practicable, direct written notice to

   any person known to have a legal interest in the Property;

          7.       Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Order

   of Forfeiture is final as to Sizer’s right, title, and interest in the Property and shall be made a part

   of Sizer’s sentence and included in the judgment and commitment order;

          8.       The United States is further authorized, pursuant to Title 21, United States Code,

   Section 853(m) and Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure, to conduct any

   discovery necessary, including depositions, to identify, locate or dispose of the Property in order

   to expedite ancillary proceedings related to any third party petition claims filed with respect to the

   Property; and

          9.       Upon adjudication of all third-party interests, this Court will enter a Final Order of

   Forfeiture in which all interests will be addressed. If no claims are filed within 30 days of the final

   publication of notice or the receipt of actual notice, whichever is earlier, then, pursuant to Rule

   32.2(c)(2), this Order of Forfeiture shall be deemed a Final Order of Forfeiture and the Federal




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   Bureau of Investigation or any duly authorized law enforcement agency shall dispose of the

   Property according to law.

          DONE AND ORDERED at Miami, Florida this _____ day of July 2017.


                                            ____________________________________
                                            MARCIA G. COOKE
                                            UNITED STATES DISTRICT JUDGE




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